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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                       (Filed: August 21, 2020)


* * * * * * * * * * * * * *
JENNIFER N. JARVIS as parent          *
and legal representative of her minor *
daughter, J.N.J.,                     *                          UNPUBLISHED
                                      *                          No. 16-1354V
              Petitioner,             *
                                      *                          Special Master Dorsey
v.                                    *
                                      *                          Attorneys’ Fees and Costs
                                      *
SECRETARY OF HEALTH                   *
AND HUMAN SERVICES,                   *
                                      *
              Respondent.             *
* * * * * * * * * * * * * *

Elizabeth M. Muldowney, Sands Anderson PC, Richmond, VA, for petitioner.
Linda S. Renzi, U.S. Department of Justice, Washington, DC, for respondent.

                         DECISION ON ATTORNEYS’ FEES AND COSTS1

       On October 17, 2016, Jennifer Jarvis (“petitioner”) filed a petition for compensation
under the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2
(“Vaccine Act”) on behalf of her minor daughter, J.N.J. The petition alleged that as a result of an
influenza vaccine administered on October 20, 2013, J.N.J. suffered from Guillain-Barré
syndrome and/or chronic inflammatory demyelinating polyneuropathy. Petition at 1 (ECF No. 1).

1
  This decision will be posted on the website of the United States Court of Federal Claims' website, in accordance
with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012). This means the Decision will be available to
anyone with access to the internet. As provided by 44 U.S.C. § 300aa-12(d)(4)B), however, the parties may object
to the published Decision’s inclusion of certain kinds of confidential information. Specifically, Under Vaccine Rule
18(b), each party has 14 days within which to request redaction “of any information furnished by that party: (1) that
is a trade secret or commercial or financial in substance and is privileged or confidential; or (2) that includes medical
filed or similar files, the disclosure of which would constitute a clearly unwarranted invasion of privacy.” Vaccine
Rule 18(b). Otherwise the whole decision will be available to the public in its current form. Id.
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National Childhood Vaccine
Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended, 42 U.S.C. §§ 300aa-1 to -34 (2012)
(“Vaccine Act” or “the Act). All citations in this decision to individual sections of the Vaccine Act are to 42 U.S.C.
§§ 300aa.
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On August 26, 2019, the parties filed a stipulation, which the undersigned adopted as her
decision awarding compensation on the August 27, 2019. (ECF No. 88).

        On April 10, 2020, petitioner filed an application for attorneys’ fees and costs. Motion
for Attorney Fees and Costs (ECF No. 97). Petitioner requests compensation in the amount of
$67,562.01, representing $55,037.90 in attorneys’ fees and $12,524.11 in costs. Fees App. at 5-6.
Pursuant to General Order No. 9, petitioner warrants that she has personally incurred costs of
$500.00 in pursuit of this litigation. Id. at 6. Respondent filed his response on April 10, 2020
indicating that he “is satisfied the statutory requirements for an award of attorneys’ fees and
costs are met in this case.” Response at 2 (ECF No. 98). Petitioner filed a reply on April 10,
2020, reiterating her belief that the requested amount of attorneys’ fees and costs is reasonable.
(ECF No. 100). The matter is now ripe for disposition.

       For the reasons discussed below, the undersigned GRANTS petitioner’s motion and
awards a total of $66,759.11.

           I.     Discussion

        Under the Vaccine Act, the special master shall award reasonable attorneys’ fees and
costs for any petition that results in an award of compensation. 42 U.S.C. § 300aa-15(e)(1).
When compensation is not awarded, the special master “may” award reasonable attorneys’ fees
and costs “if the special master or court determines that the petition was brought in good faith
and there was a reasonable basis for the claim for which the petition was brought.” Id. at
§15(e)(1). In this case, because petitioner was awarded compensation pursuant to a stipulation,
she is entitled to a final award of reasonable attorneys’ fees and costs.

                      a. Reasonable Attorneys’ Fees

         The Federal Circuit has approved use of the lodestar approach to determine reasonable
attorney’s fees and costs under the Vaccine Act. Avera v. Sec’y of Health & Human Servs., 515
F.3d 1343, 1349 (Fed. Cir. 2008). Using the lodestar approach, a court first determines “an
initial estimate of a reasonable attorney’s fee by ‘multiplying the number of hours reasonably
expended on the litigation times a reasonable hourly rate.’” Id. at 1347-58 (quoting Blum v.
Stenson, 465 U.S. 886, 888 (1984)). Then, the court may make an upward or downward
departure from the initial calculation of the fee award based on other specific findings. Id. at
1348.

        Counsel must submit fee requests that include contemporaneous and specific billing
records indicating the service performed, the number of hours expended on the service, and the
name of the person performing the service. See Savin v. Sec’y of Health and Human Servs., 85
Fed. Cl. 313, 316-18 (2008). Counsel should not include in their fee requests hours that are
“excessive, redundant, or otherwise unnecessary.” Saxton v. Sec’y of Health and Human Servs.,
3 F.3d 1517, 1521 (Fed. Cir. 1993) (quoting Hensley v. Eckerhart, 461 U.S. 424, 434 (1983)). It
is “well within the special master’s discretion to reduce the hours to a number that, in [her]
experience and judgment, [is] reasonable for the work done.” Id. at 1522. Furthermore, the
special master may reduce a fee request sua sponte, apart from objections raised by respondent
                                                  2
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and without providing a petitioner notice and opportunity to respond. See Sabella v. Sec’y of
Health & Human Servs., 86 Fed. Cl. 201, 209 (2009).

        A special master need not engage in a line-by-line analysis of a petitioner’s fee
application when reducing fees. Broekelschen v. Sec’y of Health & Human Servs., 102 Fed. Cl.
719, 729 (2011). Special masters may rely on their experience with the Vaccine Program and its
attorneys to determine the reasonable number of hours expended. Wasson v. Sec’y of Health
and Human Servs., 24 Cl. Ct. 482, 484 (Fed. Cl. Nov. 19, 1991) rev’d on other grounds and aff’d
in relevant part, 988 F. 2d 131 (Fed. Cir. 1993). Just as “[t]rial courts routinely use their prior
experience to reduce hourly rates and the number of hours clamed in attorney fee requests …
[v]accine program special masters are also entitled to use their prior experience in reviewing fee
application.” Saxton, 3 F. 3d at 1521.

                                           i. Reasonable Hourly Rates

        Petitioner requests the following hourly rates for the work of her counsel: for Ms.
Elizabeth Muldowney, $321.00 per hour for work performed in 2014, $333.00 per hour for work
performed in 2015, $345.00 per hour for work performed in 2016, $353.00 per hour for work
performed in 2017, $363.00 per hour for work performed in 2018, $372.00 per hour for work
performed in 2019, and $388.00 per hour for work performed in 2020; and for Mr. Ramon
Rodriguez, $348.00 per hour for work performed in 2014. Fees App. at 5. The undersigned finds
that these rates are reasonable for the work of counsel at Sands Anderson PC, and shall award
them herein.

                                        ii.      Reasonable Hours Expended

           The undersigned has reviewed the submitted billing entries and finds the total number of
    hours billed by attorneys to be reasonable. However, the undersigned notes that the time
    expended by Rawls Law Firm paralegals is excessive. The issues with overbilling have
    previously been noted in several other Vaccine Program cases. See, e.g., Beiting v. Sec’y of
    Health & Human Servs., No. 17-726V, 2018 WL 4907964, at *3 (Fed. Cl. Spec. Mstr. Sept. 11,
    2018); Kollias v. Sec’y of Health & Human Servs., No. 16-868V, 2018 WL 6301793, at *2 (Fed.
    Cl. Spec. Mstr. Oct. 2, 2018); Antisdel v. Sec’y of Health & Human Servs., No. 17-964V, 2018
    WL 6930459, at *2-3 (Fed. Cl. Spec. Mstr. Dec. 4, 2018). The time billed by paralegals at Sands
    Anderson PC, however, is reasonable.

           Accordingly, the undersigned shall reduce the time billed by Rawls Law Firm paralegals
    by ten percent. This results in a reduction of $1,302.83.3 Petitioner is therefore awarded final
    attorneys’ fees of $53,735.07.

                            b. Attorneys’ Costs



3
    $13,028.30 billed by Rawls Law Firm paralegals * 0.1 = $1,302.83.
                                                          3
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        Petitioner requests a total of $12,524.11 in attorneys’ costs. The majority of this amount
is for work by petitioner’s guardianship counsel with the remainder comprised of acquiring
medical records, postage, and the Court’s filing fee. Upon review, petitioner has provided
adequate documentation supporting these costs, and they all appear reasonable in the
undersigned’s experience. Accordingly, petitioner is entitled to the full amount of costs sought.

                       c. Petitioner’s Costs

       Pursuant to General Order No. 9, petitioner states that she has personally incurred costs
of $500.00. Petitioner has provided documentation supporting these costs and shall be fully
reimbursed. Fees App. Ex. 2 at 32.

           II.     Conclusion

        Based on all of the above, the undersigned finds that it is reasonable compensate
petitioner and her counsel as follows:

 Attorneys’ Fees Requested                                           $55,037.90
 (Total Reduction from Billing Hours)                               - ($1,302.83)
 Total Attorneys’ Fees Awarded                                       $53,735.07

 Attorneys’ Costs Requested                                          $12,524.11
 (Reduction of Costs)                                                     -
 Total Attorneys’ Costs Awarded                                      $12,524.11

 Total Attorneys’ Fees and Costs Awarded                             $66,259.18

 Petitioner’s Costs                                                   $500.00

 Total Amount Awarded                                                $66,759.18

       Accordingly, the undersigned awards the following:

       1) $36,631.06 in attorneys’ fees and costs, in the form of a check payable jointly to
          petitioner and Rawls Law Group, PC; and

       2) $29,628.12 in attorneys’ fees and costs, in the form of a check payable jointly to
          petitioner and Sands Anderson PC; and

       3) $500.00 in petitioner’s costs, in the form of a check payable to petitioner.




                                                 4
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       In the absence of a motion for review filed pursuant to RCFC Appendix B, the Clerk of
Court SHALL ENTER JUDGMENT in accordance with this decision.4

         IT IS SO ORDERED.

                                                               s/Nora Beth Dorsey
                                                               Nora Beth Dorsey
                                                               Special Master




4
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice renouncing
the right to seek review.
                                                          5
